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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

OMATSEYE NANNA,                                )
                                               )
       Plaintiff,                              )       Case No. 2:16-cv-00088-GLF-KAJ
                                               )
v.                                             )
                                               )
JP RECOVERY SERVICES, INC.,                    )
                                               )
       Defendant.                              )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff, Omatseye Nanna, and Defendant, JP Recovery Services, Inc., by and through

their respective attorneys, hereby stipulate to the dismissal of the within complaint with

prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all matters in controversy having been

resolved to the mutual satisfaction of the parties. Each party shall bear its own costs and

attorneys’ fees.

By:    /s/ David B. Levin                              By:     /s/ John P. Langenderfer
       Attorney for Plaintiff                                  Attorney for Defendant
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2016, a copy of the foregoing Stipulation of Dismissal

with Prejudice was filed electronically. Notice of this filing will be sent by operation of the

Court’s electronic filing system to all parties indicated on the electronic filing receipt.

                                                               /s/ David B. Levin
                                                               Attorney for Plaintiff
